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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    www.flsb.uscourts.gov
In re:
Jose La Rosa
                                                           Case No: 15-10562-AJC
                                                           Chapter 13
               Debtor(s)          /

                           NOTICE OF FINAL CURE PAYMENT

Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Debtor, Jose La Rosa , files this
Notice of Final Cure Payment. The amount required to cure the default in the claim listed below
has been paid in full.
Name of Creditor: Reverse Mortgage Solutions, Inc. /

Mortgage Arrearage

 Court Claim #       Account Number       Claim Asserted      Claim Allowed Amount Paid

 3 & ECF#51          xxxxxx5096           $21,542.46          $21,542.46         $21,542.46


Monthly ongoing mortgage payments were paid through the Chapter 13 Trustee and
directly by Debtors along with the arrearage and any post-petition mortgage fees, expenses
and charges paid through the confirmed plan.


Within 21 days of the service of the Notice Of Final Cure Payment, the Creditor MUST file and

serve a Statement as a supplement to the Holder’s Proof of Claim on the Debtors, Debtors'

Counsel and the Chapter 13 Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating 1) whether

it agrees that the Debtors have paid in full the amount required to cure the default on the claim;

and 2) whether the Debtors are otherwise current on all payments consistent with 11 U.S.C. §

1322(b)(5).

The statement shall itemize the required cure or post-petition amounts, if any, that the Holder

contends remain unpaid as of the date of the statement. The statement shall be filed as a

supplement to the Holder’s Proof of Claim and is not subject to Rule 3001(f). Failure to notify

may result in sanctions.
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was sent via

CM/ECF to: Nancy K. Neidich, PO Box 279806, Miramar, FL 33027 and via regular mail to all

parties on the service list on April 29, 2020.


Reverse Mortgage Solutions, Inc.
5010 Linbar Drive, Suite 100
Nashville, TN 37211

Reverse Mortgage Solutions, Inc.
2727 Spring Creek Drive
Spring, TX 77373

ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
BANKRUPTCY DEPT.
c/o Bouavone AMphone, Esq.
6409 CONGRESS AVE., SUITE 100
BOCA RATON, FL 33487


                                                 Respectfully Submitted:

                                                 ROBERT SANCHEZ, P.A.
                                                 Attorney for Debtor(s)
                                                 355 West 49th Street
                                                 Hialeah, FL 33012
                                                 Tel. (305) 687-8008

                                                 By:/s/ Robert Sanchez_________________
                                                   Robert Sanchez, Esq., FBN# 0442161
